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    November 10, 2021                                                    ELECTRONICALLY FILED
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    Via ECF

    Hon. Mary Kay Vyskocil, U.S.D.J.
    United States District Court, S.D.N.Y.
    500 Pearl Street, Room 2230
    New York, NY 10007

    Re:     Ann Marie Feretti v. Motion PT Group, et al.
            SDNY Docket No. 1:21-cv-5833 (MKV) (DCF)

    Dear Judge Vyskocil:

    This firm is counsel for plaintiff in this action.

    Pursuant to Your Honor’s Individual Rules, the parties respectfully request an adjournment of
    the telephonic Status Conference currently scheduled for December 8, 2021 at 11:00 a.m. and an
    extension of time to submit the joint status letter currently due one (1) week prior to that Status
    Conference by December 1, 2021.

    The reason for this request is that the parties are scheduled for mediation on December 3, 2021.
    A brief adjournment and extension would avoid potential waste of judicial resources and allow
    the parties to allocate their time and resources toward potential settlement.

    The parties respectfully request that the Status Conference be rescheduled to (preferably)
    December 20, 21, or 22 or to (alternatively) December 13, 14, 15 (morning only), 16, or 17.
    This is because defendants’ counsel is off from work December 6-10 and 23-31 and plaintiff’s
    counsel has a scheduling conflict on December 15 in the afternoon. If the Court is unavailable
    on those dates, then the parties respectfully request that the Status Conference be rescheduled to
    January 2022.

    If the Status Conference is adjourned to December 13, 14, 15 (morning only), 16, 17, 20, 21, or
    22, then the adjournment will not affect any other scheduled dates in the Civil Case Management
    Plan and Scheduling Order dated September 2, 2021 [doc. 10]. If the Status Conference is
    adjourned to January 2022, then the adjournment would likely affect the December 31, 2021
    deadline for completion of defendants’ depositions and completion of fact discovery.
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This is a joint request by all parties.

No previous requests for adjournments or extensions of time have been made.


Respectfully submitted,

Elana Ben-Dov
Elana Ben-Dov


cc:     Hillary A. Fraenkel, Esq., counsel for defendants (via ecf)

GRANTED. The status conference scheduled for December 8, 2021 is hereby adjourned
to December 16, 2021 at 11:00am. SO ORDERED.

                                          11/15/2021




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